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                                        MINUTES



      CASE NUMBER:          1:21-CV-00268-JAO-KJM
      CASE NAME:            Francisco Alvarado, et al v. State of Hawaii, Department of
                            Public Safety, et al.
      ATTYS FOR PLA:        Eric A. Seitz
                            Gina May Szeto-Wong
                            Kevin A Yolken
      ATTYS FOR DEFT:       Caron M. Inagaki
                            Kendall J. Moser
                            Skyler G. Cruz


          JUDGE:      Kenneth J. Mansfield         REPORTER:         AT&T Service

          DATE:       07/20/2021                   TIME:             9:20 - 9:41


  COURT ACTION: EP:           TELEPHONIC STATUS CONFERENCE held.

  Discussion held outlining the schedule for future regular status conferences to address
  compliance with the preliminary injunction.

  Status Reports should address an individualize basis each DPS Facility level of
  compliance re the safety pandemic plan and the 11 categories listed on page 67 of District
  Judge Otake’s [37] Order (1) Granting Plaintiffs’ Motion for Provisional Class
  Certification and (2) Granting in Part and Denying In Part Plaintiffs’ Motion for
  Preliminary Injunction And Temporary Restraining Order.

  Regular Status Conference outline will be as follows:

  •       First day of the month, parties are to file a Status Report to address issue and
          categories previously stated above.

  •       One week after the Status Report deadline will be Plaintiff’s Responsive Status
          Report.

  •       One week after Plaintiff’s Response Status Report will be the Status Conference.
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  Mr. Seitz address his concerns.

  Status Report is due by August 2, 2021

  Plaintiff’s Responsive Status Report is due by August 9, 2021.

  Further Telephonic Status Conference is set for August 16, 2021 at 9:00 a.m. before
  Magistrate Judge Kenneth J. Mansfield.

  Until further notice, all other hearings before Magistrate Judge Kenneth J. Mansfield,
  parties are to participate via telephone through our AT&T Service. Call-in information for
  this conference is below. Parties must connect to the conference at least five (5) minutes
  prior to the scheduled start time of the hearing.

  Dial in number is 1-877-848-7030
  Access Code is 2123668

  Court to issue an Order providing oversight.




  Submitted by: Bernie Aurio, Courtroom Manager
